      Case 1:10-cv-00880-WMS-JJM Document 25 Filed 11/21/11 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NEW YORK

JANET E. MOSS, SEAN A.CAREY
and LISA CAREY,

                     Plaintiffs,
                                            Civil Action No. 1:10-cv-00880-WMS
v.

NCO FINANCIAL SYSTEMS, INC.,

                     Defendant.


                              NOTICE OF APPEARANCE

To the Clerk of the Court and all other parties:

       Please enter my Appearance as Attorney for the defendant, NCO Financial

Systems, Inc.("NCO"), in the above-captioned case.

Dated: November 21, 2011

                                          Respectfully submitted

                                          /s/ Aaron R. Easley
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     Case 1:10-cv-00880-WMS-JJM Document 25 Filed 11/21/11 Page 2 of 2




                            CERTIFICATE OF SERVICE

      I certify that on this 21st day of November 2011, a copy of the foregoing Notice of

Appearance was filed electronically in the ECF system. Notice of this filing will be sent

to the parties of record by operation of the Court’s electronic filing system, including

plaintiff’s counsel as described below. Parties may access this filing through the Court’s

system.


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